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 9                            IN THE UNITED STATES DISTRICT COURT

10                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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12   SOBOBA BAND OF LUISEÑO INDIANS, a                    No. 1:20-cv-01147-ADA-SKO
     federally recognized Indian Tribe,
13                                                        ORDER GRANTING PARTIES’ JOINT
                                  Plaintiff,              STIPULATION FOR APPOINTMENT OF
14                                                        MEDIATOR SCOTT BALES; REQUIRING
                    v.                                    THE PARTIES TO SUBMIT THEIR LAST
15                                                        BEST OFFERS FOR A COMPACT

16   STATE OF CALIFORNIA, et al.,

17                              Defendants.

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19          The parties have jointly agreed to retired Chief Justice of the Arizona Supreme Court Scott
20   Bales as the mediator pursuant to 25 U.S.C. § 2710(d)(7)(B)(iv). (ECF No. 81.)
21          Within ten days of this order, each party is directed to submit to the mediator “a proposed
22   compact that represents their last best offer for a compact.” 25 U.S.C. § 2710(d)(7)(B)(iv). The
23   mediator “shall select from the two proposed compacts the one which best comports with the terms
24   of [IGRA], . . . any other applicable Federal law[,] and with the findings and order,” (ECF No. 77),
25   of this Court. Id. Once the mediator selects a compact as directed, he “shall submit [the selected
26   compact] to the State and the Indian tribe.” Id. at § 2710(d)(7)(B)(v). “If [the] State consents to a
27   proposed compact during the 60-day period beginning on the date on which the proposed compact
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 1   is submitted by the mediator to the State under clause (v), the proposed compact shall be treated as

 2   a Tribal-State compact entered into under [§ 2710(d)(3)].” Id. at § 2710(d)(7)(B)(vi). “If the State

 3   does not consent during the 60-day period described [above] to [the] proposed compact submitted

 4   by [the mediator to the State], [he] shall notify the Secretary” of the Interior. Id. at §

 5   2710(d)(7)(B)(vii). The Secretary of the Interior, in consultation with the Tribe, shall then prescribe

 6   procedures for operation of class III gaming by the Tribe that are consistent with the compact

 7   selected by the mediator, the provisions of IGRA, and the laws of the State. Id.

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10   IT IS SO ORDERED.

11      Dated:     July 5, 2023
                                                           UNITED STATES DISTRICT JUDGE
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